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15   and OTTOMOTTO LLC

16                                UNITED STATES DISTRICT COURT
17                             NORTHERN DISTRICT OF CALIFORNIA
18                                      SAN FRANCISCO DIVISION
19   WAYMO LLC,                                           Case No.      3:17-cv-00939-WHA
20                         Plaintiff,                     DECLARATION OF CAMILA
                                                          TAPERNOUX IN SUPPORT OF
21          v.                                            DEFENDANTS’ ADMINISTRATIVE
                                                          MOTION TO FILE UNDER SEAL
22   UBER TECHNOLOGIES, INC.,                             EXHIBITS TO THEIR DISCOVERY
     OTTOMOTTO LLC; OTTO TRUCKING LLC,                    LETTER BRIEF REGARDING APEX
23                                                        DEPOSITIONS
                           Defendants.
24                                                        Trial Date: October 10, 2017
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     TAPERNOUX DECL. ISO DEFENDANTS’ ADMINISTRATIVE MOTION TO FILE UNDER SEAL
     Case No. 3:17-cv-00939-WHA
     sf-3802461
     Case 3:17-cv-00939-WHA Document 810-1 Filed 07/06/17 Page 2 of 3



 1           I, Camila Tapernoux, declare as follows:

 2           1.      I am an attorney at the law firm of Morrison & Foerster LLP. I am a member in

 3   good standing of the Bar of the State of California. I make this declaration based upon matters

 4   within my own personal knowledge and if called as a witness, I could and would competently

 5   testify to the matters set forth herein. I make this declaration in support of Defendants’

 6   Administrative Motion to File Under Seal Exhibits to Its Discovery Letter Brief Regarding Apex

 7   Depositions.

 8           2.      I have reviewed the following documents and confirmed that the material

 9   identified below merits sealing:

10
           Document                                             Portions to Be Filed Under Seal
11
           Exhibit A                                            Entire Document
12

13         Exhibit B                                            Entire Document

14
             3.      Both of these exhibits were designated “Highly Confidential – Attorneys’ Eyes
15
     Only” by Waymo in accordance with the Patent Local Rule 2-2 Interim Model Protective Order
16
     (“Protective Order”), which the parties have agreed govern this case (Transcript of 3/16/2017
17
     Hearing, page 6). Defendants do not agree that this material merits sealing, but are required to
18
     file this material under seal in accordance with Paragraph 14.4 of the Protective Order.
19
             4.      Defendants’ request to seal is narrowly tailored to those portions of its letter brief
20
     and exhibits that it is required to file under seal.
21
             I declare under penalty of perjury under the laws of the United States that the foregoing is
22
     true and correct. Executed this 6th day of July, 2017, in San Francisco, California.
23

24                                                                   /s/ Camila Tapernoux
                                                                       Camila Tapernoux
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     TAPERNOUX DECL. ISO DEFENDANTS’ ADMINISTRATIVE MOTION TO FILE UNDER SEAL
     Case No. 3:17-cv-00939-WHA
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     sf-3802461
     Case 3:17-cv-00939-WHA Document 810-1 Filed 07/06/17 Page 3 of 3



 1                             ATTESTATION OF E-FILED SIGNATURE

 2          I, Arturo J. González, am the ECF User whose ID and password are being used to file this

 3   Declaration. In compliance with General Order 45, X.B., I hereby attest that Camila Tapernoux

 4   has concurred in this filing.

 5   Dated: July 6, 2017                                     /s/ Arturo J. González
                                                                 Arturo J. González
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     Case No. 3:17-cv-00939-WHA
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     sf-3802461
